808 F.2d 835Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Samuel Eugen JORDAN, Plaintiff-Appellant,v.Edward W. MURRAY, Director of the Virginia Department ofCorrections, Defendant-Appellee.
    No. 86-7208.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 31, 1986.Decided Dec. 15, 1986.
    
      Before PHILLIPS, SPROUSE and ERVIN, Circuit Judges.
      Samuel Eugen Jordan, appellant pro se.
      Frank (Francis) Snead Ferguson, Office of the Attorney General of Virginia, for appellee.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, deny appointment of counsel, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Jordan v. Murray, C/A No. 86-200-N (E.D.Va., July 18, 1986).
    
    
      2
      DISMISSED.
    
    